     Case 2:25-cv-00213-AS       Document 1     Filed 01/08/25    Page 1 of 12 Page ID #:1



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     MARIA GARCIA
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 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                    Case No.:
     MARIA GARCIA,
11                Plaintiff,                          COMPLAINT FOR INJUNCTIVE
                                                      RELIEF AND DAMAGES FOR DENIAL
12         vs.                                        OF CIVIL RIGHTS OF A DISABLED
                                                      PERSON IN VIOLATIONS OF
13
                                                      1. AMERICANS WITH DISABILITIES
14                                                    ACT, 42 U.S.C. §12131 et seq.;
     J & G GREEN, INC.; LEEACTON, LLC;
15   and DOES 1 to 10,                                2. CALIFORNIA’S UNRUH CIVIL
                                                      RIGHTS ACT;
16                Defendants.
                                                      3. CALIFORNIA’S DISABLED
17                                                    PERSONS ACT;
18                                                    4. CALIFORNIA HEALTH & SAFETY
                                                      CODE;
19
                                                      5. NEGLIGENCE
20
21
22
23         Plaintiff MARIA GARCIA (“Plaintiff”) complains of Defendants J & G GREEN,

24   INC.; LEEACTON, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

25                                            PARTIES

26         1.     Plaintiff is a California resident with a physical disability. Plaintiff suffers

27   from advanced multiple sclerosis and is substantially limited in her ability to walk.

28   Plaintiff requires the use of a wheelchair at all times when traveling in public.



                                            COMPLAINT - 1
     Case 2:25-cv-00213-AS       Document 1      Filed 01/08/25   Page 2 of 12 Page ID #:2




 1            2.   Defendants are, or were at the time of the incident, the real property owners,
 2   business operators, lessors and/or lessees of the real property for a restaurant
 3   (“Business”) located at or about 3720 Sierra Hwy., Acton, California.
 4            3.   The true names and capacities, whether individual, corporate, associate or
 5   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 6   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 7   Court to amend this Complaint when the true names and capacities have been
 8   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
 9   fictitiously named Defendants are responsible in some manner, and therefore, liable to
10   Plaintiff for the acts herein alleged.
11            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
12   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
13   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
14   the things alleged herein was acting with the knowledge and consent of the other
15   Defendants and within the course and scope of such agency or employment relationship.
16            5.   Whenever and wherever reference is made in this Complaint to any act or
17   failure to act by a defendant or Defendants, such allegations and references shall also be
18   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
19   and severally.
20                                 JURISDICTION AND VENUE
21            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
22   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
23   seq.).
24            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
25   arising from the same nucleus of operating facts, are also brought under California law,
26   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
27   54, 54., 54.3 and 55.
28            8.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



                                              COMPLAINT - 2
     Case 2:25-cv-00213-AS      Document 1      Filed 01/08/25   Page 3 of 12 Page ID #:3




 1         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 2   property which is the subject of this action is located in this district, Los Angeles County,
 3   California, and that all actions complained of herein take place in this district.
 4                                     FACTUAL ALLEGATIONS
 5         10.    In or about October of 2024, Plaintiff went to the Business.
 6         11.    The Business is a restaurant business establishment, open to the public, and
 7   is a place of public accommodation that affects commerce through its operation.
 8   Defendants provide parking spaces for customers.
 9         12.    While attempting to enter the Business during each visit, Plaintiff personally
10   encountered a number of barriers that interfered with her ability to use and enjoy the
11   goods, services, privileges, and accommodations offered at the Business.
12         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
13   included, but were not limited to, the following:
14                a.     Defendants failed to comply with the federal and state standards for
15                       the parking space designated for persons with disabilities. Defendants
16                       failed to post the required sign, “Minimum Fine $250”.
17                b.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to provide an access aisle with level surface slope, as there was
20                       a permanent ramp installed within the van accessible aisle.
21                       Additionally, Defendants failed to keep the accessible parking stall
22                       free of obstacles as there was a sewage cap disrupting the parking
23                       surface, creating a grade.
24         14.    These barriers and conditions denied Plaintiff full and equal access to the
25   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
26   patronize the Business; however, Plaintiff is deterred from visiting the Business because
27   her knowledge of these violations prevents her from returning until the barriers are
28   removed.



                                            COMPLAINT - 3
     Case 2:25-cv-00213-AS       Document 1     Filed 01/08/25     Page 4 of 12 Page ID #:4




 1         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 2   there are additional barriers to accessibility at the Business after further site inspection.
 3   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 4   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 5         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 6   knew that particular barriers render the Business inaccessible, violate state and federal
 7   law, and interfere with access for the physically disabled.
 8         17.    At all relevant times, Defendants had and still have control and dominion
 9   over the conditions at this location and had and still have the financial resources to
10   remove these barriers without much difficulty or expenses to make the Business
11   accessible to the physically disabled in compliance with ADDAG and Title 24
12   regulations. Defendants have not removed such barriers and have not modified the
13   Business to conform to accessibility regulations.
14                                     FIRST CAUSE OF ACTION
15          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
16         18.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
19   shall be discriminated against on the basis of disability in the full and equal enjoyment of
20   the goods, services, facilities, privileges, advantages, or accommodations of any place of
21   public accommodation by any person who owns, leases, or leases to, or operates a place
22   of public accommodation. See 42 U.S.C. § 12182(a).
23         20.    Discrimination, inter alia, includes:
24                a.     A failure to make reasonable modification in policies, practices, or
25                       procedures, when such modifications are necessary to afford such
26                       goods, services, facilities, privileges, advantages, or accommodations
27                       to individuals with disabilities, unless the entity can demonstrate that
28                       making such modifications would fundamentally alter the nature of



                                            COMPLAINT - 4
     Case 2:25-cv-00213-AS   Document 1      Filed 01/08/25    Page 5 of 12 Page ID #:5




 1                    such goods, services, facilities, privileges, advantages, or
 2                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3              b.    A failure to take such steps as may be necessary to ensure that no
 4                    individual with a disability is excluded, denied services, segregated or
 5                    otherwise treated differently than other individuals because of the
 6                    absence of auxiliary aids and services, unless the entity can
 7                    demonstrate that taking such steps would fundamentally alter the
 8                    nature of the good, service, facility, privilege, advantage, or
 9                    accommodation being offered or would result in an undue burden. 42
10                    U.S.C. § 12182(b)(2)(A)(iii).
11              c.    A failure to remove architectural barriers, and communication barriers
12                    that are structural in nature, in existing facilities, and transportation
13                    barriers in existing vehicles and rail passenger cars used by an
14                    establishment for transporting individuals (not including barriers that
15                    can only be removed through the retrofitting of vehicles or rail
16                    passenger cars by the installation of a hydraulic or other lift), where
17                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
18              d.    A failure to make alterations in such a manner that, to the maximum
19                    extent feasible, the altered portions of the facility are readily
20                    accessible to and usable by individuals with disabilities, including
21                    individuals who use wheelchairs or to ensure that, to the maximum
22                    extent feasible, the path of travel to the altered area and the
23                    bathrooms, telephones, and drinking fountains serving the altered
24                    area, are readily accessible to and usable by individuals with
25                    disabilities where such alterations to the path or travel or the
26                    bathrooms, telephones, and drinking fountains serving the altered area
27                    are not disproportionate to the overall alterations in terms of cost and
28                    scope. 42 U.S.C. § 12183(a)(2).



                                         COMPLAINT - 5
     Case 2:25-cv-00213-AS      Document 1     Filed 01/08/25   Page 6 of 12 Page ID #:6




 1         21.    Where parking spaces are provided, accessible parking spaces shall be
 2   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 3   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 4   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 5   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 6   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
 7         22.    Under the ADA, the method and color of marking are to be addressed by
 8   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 9   Building Code (“CBC”), the parking space identification signs shall include the
10   International Symbol of Accessibility. Parking identification signs shall be reflectorized
11   with a minimum area of 70 square inches. Additional language or an additional sign
12   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
13   parking space identification sign shall be permanently posted immediately adjacent and
14   visible from each parking space, shall be located with its centerline a maximum of 12
15   inches from the centerline of the parking space and may be posted on a wall at the
16   interior end of the parking space. See CBC § 11B-502.6, et seq.
17         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
18   each entrance to an off-street parking facility or immediately adjacent to on-site
19   accessible parking and visible from each parking space. The additional sign shall not be
20   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
21   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
22   designated accessible spaces not displaying distinguishing placards or special license
23   plates issued for persons with disabilities will be towed away at the owner’s expense…”
24   See CBC § 11B-502.8, et seq.
25         24.    Here, Defendants failed to provide the sign stating, “Minimum Fine $250”.
26         25.    Under the 1991 Standards, parking spaces and access aisles must be level
27   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
28   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles



                                           COMPLAINT - 6
     Case 2:25-cv-00213-AS        Document 1     Filed 01/08/25    Page 7 of 12 Page ID #:7




 1   shall be part of an accessible route to the building or facility entrance and shall comply
 2   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 3   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 4   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 5   directions. 1991 Standards § 4.6.3.
 6         26.      Here, Defendants failed to provide an access aisle with level surface slope,
 7   as there was a permanent ramp installed within the van accessible aisle. Additionally,
 8   Defendants failed to keep the accessible parking stall free of obstacles as there was a
 9   sewage cap disrupting the parking surface, creating a grade. Under the 2010 Standards,
10   access aisles shall be at the same level as the parking spaces they serve. Changes in level
11   are not permitted. 2010 Standards § 502.4. “Access aisles are required to be nearly level
12   in all directions to provide a surface for transfer to and from vehicles.” 2010 Standards §
13   502.4 Advisory. Id. No more than a 1:48 slope is permitted.
14         27.      A public accommodation shall maintain in operable working condition those
15   features of facilities and equipment that are required to be readily accessible to and usable
16   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
17         28.      By failing to maintain the facility to be readily accessible and usable by
18   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
19   regulations.
20         29.      The Business has denied and continues to deny full and equal access to
21   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
22   discriminated against due to the lack of accessible facilities, and therefore, seeks
23   injunctive relief to alter facilities to make such facilities readily accessible to and usable
24   by individuals with disabilities.
25                                 SECOND CAUSE OF ACTION
26                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
27         30.      Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                             COMPLAINT - 7
     Case 2:25-cv-00213-AS       Document 1      Filed 01/08/25   Page 8 of 12 Page ID #:8




 1         31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 2   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 3   national origin, disability, medical condition, genetic information, marital status, sexual
 4   orientation, citizenship, primary language, or immigration status are entitled to the full
 5   and equal accommodations, advantages, facilities, privileges, or services in all business
 6   establishments of every kind whatsoever.”
 7         32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 8   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 9   for each and every offense for the actual damages, and any amount that may be
10   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
11   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
12   attorney’s fees that may be determined by the court in addition thereto, suffered by any
13   person denied the rights provided in Section 51, 51.5, or 51.6.
14         33.    California Civil Code § 51(f) specifies, “a violation of the right of any
15   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
16   shall also constitute a violation of this section.”
17         34.    The actions and omissions of Defendants alleged herein constitute a denial
18   of full and equal accommodation, advantages, facilities, privileges, or services by
19   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
20   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
21   51 and 52.
22         35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
23   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
24   damages as specified in California Civil Code §55.56(a)-(c).
25                                  THIRD CAUSE OF ACTION
26                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
27         36.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                             COMPLAINT - 8
     Case 2:25-cv-00213-AS       Document 1     Filed 01/08/25   Page 9 of 12 Page ID #:9




 1         37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 2   entitled to full and equal access, as other members of the general public, to
 3   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 4   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 5   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 6   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 7   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 8   places of public accommodations, amusement, or resort, and other places in which the
 9   general public is invited, subject only to the conditions and limitations established by
10   law, or state or federal regulation, and applicable alike to all persons.
11         38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
12   corporation who denies or interferes with admittance to or enjoyment of public facilities
13   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
14   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
15   the actual damages, and any amount as may be determined by a jury, or a court sitting
16   without a jury, up to a maximum of three times the amount of actual damages but in no
17   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
18   determined by the court in addition thereto, suffered by any person denied the rights
19   provided in Section 54, 54.1, and 54.2.
20         39.    California Civil Code § 54(d) specifies, “a violation of the right of an
21   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
22   constitute a violation of this section, and nothing in this section shall be construed to limit
23   the access of any person in violation of that act.
24         40.    The actions and omissions of Defendants alleged herein constitute a denial
25   of full and equal accommodation, advantages, and facilities by physically disabled
26   persons within the meaning of California Civil Code § 54. Defendants have
27   discriminated against Plaintiff in violation of California Civil Code § 54.
28




                                            COMPLAINT - 9
     Case 2:25-cv-00213-AS        Document 1   Filed 01/08/25   Page 10 of 12 Page ID #:10




 1         41.    The violations of the California Disabled Persons Act caused Plaintiff to
 2   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 3   statutory damages as specified in California Civil Code §55.56(a)-(c).
 4                                  FOURTH CAUSE OF ACTION
 5                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 6         42.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         43.    Plaintiff and other similar physically disabled persons who require the use of
 9   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
10   such facility is in compliance with the provisions of California Health & Safety Code §
11   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
12   provisions of California Health & Safety Code § 19955 et seq.
13         44.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
14   that public accommodations or facilities constructed in this state with private funds
15   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
16   Title 1 of the Government Code. The code relating to such public accommodations also
17   require that “when sanitary facilities are made available for the public, clients, or
18   employees in these stations, centers, or buildings, they shall be made available for
19   persons with disabilities.
20         45.    Title II of the ADA holds as a “general rule” that no individual shall be
21   discriminated against on the basis of disability in the full and equal enjoyment of goods
22   (or use), services, facilities, privileges, and accommodations offered by any person who
23   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
24   Further, each and every violation of the ADA also constitutes a separate and distinct
25   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
26   award of damages and injunctive relief pursuant to California law, including but not
27   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
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                                           COMPLAINT - 10
     Case 2:25-cv-00213-AS      Document 1     Filed 01/08/25   Page 11 of 12 Page ID #:11




 1                                   FIFTH CAUSE OF ACTION
 2                                         NEGLIGENCE
 3          46.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5          47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 6   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 7   to the Plaintiff.
 8          48.    Defendants breached their duty of care by violating the provisions of ADA,
 9   Unruh Civil Rights Act and California Disabled Persons Act.
10          49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
11   has suffered damages.
12                                     PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
14   Defendants as follows:
15          1.     For preliminary and permanent injunction directing Defendants to comply
16   with the Americans with Disability Act and the Unruh Civil Rights Act;
17          2.     Award of all appropriate damages, including but not limited to statutory
18   damages, general damages and treble damages in amounts, according to proof;
19          3.     Award of all reasonable restitution for Defendants’ unfair competition
20   practices;
21          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
22   action;
23          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
24          6.     Such other and further relief as the Court deems just and proper.
25                               DEMAND FOR TRIAL BY JURY
26          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
27   demands a trial by jury on all issues so triable.
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                                            COMPLAINT - 11
     Case 2:25-cv-00213-AS    Document 1    Filed 01/08/25   Page 12 of 12 Page ID #:12




 1   Dated: January 8, 2025                SO. CAL. EQUAL ACCESS GROUP
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 3
 4                                         By:   _/s/ Jason J. Kim___________
                                                 Jason J. Kim, Esq.
 5                                               Attorneys for Plaintiff
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